       Case: 1:24-cv-02294 Document #: 52 Filed: 09/04/24 Page 1 of 2 PageID #:2228




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  TV TOKYO CORPORATION,

          Plaintiff,                                         Case No.: 1:24-cv-02294

  v.                                                         Judge Charles P. Kocoras
  THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Gabriel A. Fuentes
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                              SATISFACTION OF JUDGMENT

         WHEREAS, a judgment was entered in the above action on May 24, 2024 [45] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

                NO.                                 DEFENDANT
                207                               Firefly Phone Case


         THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
   Case: 1:24-cv-02294 Document #: 52 Filed: 09/04/24 Page 2 of 2 PageID #:2229




DATED: September 04, 2024                       Respectfully submitted,



                                                Keith A. Vogt, Esq. (Bar No. 6207971)
                                                Keith Vogt, Ltd.
                                                33 West Jackson Boulevard, #2W
                                                Chicago, Illinois 60604
                                                Telephone: 312-971-6752
                                                E-mail: keith@vogtip.com

                                                ATTORNEY FOR PLAINTIFF(S)




Subscribed and sworn before me by Keith A. Vogt, on this __of
                                                         4 September, 2024.

Given under by hand and notarial seal.




                                         STATE OF __      !_I_/
                                                   I ......       __
                                                                  V\...-V 1_'_j---­


                                                          (!yp K
                                         COUNTY OF --=-----------


                                                          GRISELDA DELGADO
                                                            OFFICIAL SEAL
                                             • N.otary Public, State of Illinois
                                                         My Commission Expires
                                                            October 05, 2026
